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                     EXHIBIT 1
Case 1:24-cv-22212-DPG Document 1-1 Entered on FLSD Docket 06/07/2024 Page 2 of 6
                       Registration #:   VA0002330811
                    Service Request #:   1-11961458921




Mail Certificate


Thoits Law
Katie Kavanaugh
400 Main St
#250
Los Altos, CA 94022 United States




                             Priority:   Special Handling   Application Date:   November 30, 2022


Correspondent
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                                                                               Registration Number
                                                                               VA 2-330-811
                                                                               Effective Date of Registration:
                                                                               November 30, 2022
                                                                               Registration Decision Date:
                                                                               December 15, 2022




Title
                    Title of Work:    Chicken Door


Completion/Publication
             Year of Completion:      2020
          Date of 1st Publication:    October 29, 2020
         Nation of 1st Publication:   Slovenia

Author

                •      Author:        Run-Tiger d.o.o.
                Author Created:       photograph
             Work made for hire:      Yes
                  Domiciled in:       Slovenia

Copyright Claimant

             Copyright Claimant:      Run-Tiger d.o.o.
                                      Vilharjeva cesta 38, Ljubljana, 1000, Slovenia




Certification

                            Name:     Katie Kavanaugh
                             Date:    November 30, 2022


               Correspondence:        Yes
          Copyright Office notes:     Basis for Registration: Copyright and registration based on only the deposited
                                      photograph; no copyright registration for any useful article depicted in the
                                      registered work. 17 USC 101, 102(a), and 113.


                                                                                                             Page 1 of 1
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  Case 1:24-cv-22212-DPG Document 1-1 Entered on FLSD Docket 06/07/2024 Page 5 of 6

Certificate of Registr tion
                                                 '         '
                         Thi&Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has         Registration Number
                       • b\;!en maqe a part of the c;:opyrigl;it Offict; record .
                                                                                     • VA 2-330-915

                      A .
                                       I               \       \       \
                                                                                                       '   '   /   \   \

                                                                                            Effective Date of Registration:
                                                                                            December 13, 2022      ,
                                                                                            Registration Decision Date:
                          Upited States Register of Copyrights and_ Director              ' December 15,'2022




  Copyright Registration for a Group of Published Photographs
  Reglstration issued pursuant to 37- C.F.R,, § 202.4(i) '      '        ' ,         ,'        ,
             For Photographs Published: , Janu'ary 26, 2021 to June 24, 2021

                  Title

                        Title of Group:         RUN-CHICKEN PHOTOGRAPHS
       Number of Photographs in Group:          39

              •   Individual Photographs:      run_chicken_studio00030, run_chicken_studio00032,
                                             , run_dµcken_ tudio0Q033, rul)._chick n_stud o00034,
                                               run_chicken_studio00035, run_chicken_studio00036,
                                               run_chicken_studio00037, run_chicken_studio00038,
                                               run_chicken_studio00039,
                                               run_chicken_studio00040, run_chicken_studio0004l,
                                            , run_chicken_studio00042, run_chicken_studio00043,
                                               run_chicken_studio00044·, run_chicken_stu,dio07'754, _ElA9814Edit, '
                                               _E1A9817Edit,
                                  Published: January 2021

              •    ndividual Photographs:       run_chicken_studio00053, run_chicken_studio00058°Edit,
                                                run_chicken_studio00104,iE1A9853-Edit,
                                 • Publish d:   February 4021

              •   Individual Photographs:       run_chicken_studio00l 04-Edit, _ElA9812Edit;
                                                 E1A9813Edit, E1A9815Edit, E1A9818-Edit, E1A9886Edit, E1A9911-
                                                Edit, _EJA9918=-Edit, _E1A991i-Ectit, _E1A9927-Edit, _MG_0005-Edit,
                                                _:_MG_0122-Edit2, _MG_9935Edit
                                  Published:    March 2021

             •    lndividu I Photographs:       run_chicken_studio02689copy, nm_chicken_studio02690,
                                                run_chicken_studio02693, r\m_chicken_studio02697, _MG_9944-Edit
                                  Published:    June 2021·     '             '            ,        '

   Completion/Publication
                     Year of C mpletion: 2020         ,
      Earliest Publication Date in Group: , January 26, 2021
       Latest Publication Date in Gr up:    June 24, 2021 '
              Nation of First Publication: Slovenia



                                                                                                                           Page 1 of2
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                                                                                                                            1




Author

                  •       Author:     Vizualne komunikacije Andraz Jenkole s.p.
                   Author Created:    photographs
                Work made for hire:   Yes
                     Domiciled in:    Slovenia

Copyright Claimant

                Copyright Claimant:   Run-Tiger d.o.o.
                                      Vilharjeva 38, Ljubljana, 1000, Slovenia
                Transfer statement:   By written agreement


Rights and Permissions
                Organization Name:    Thoits Law                                                                            iI
                             Name:    Katie Kavanaugh


                                                                                                                            Il
                            Email:
                                      kkavanaugh@thoits.com
                        Telephone:    (650)327-4200
                          Address:    400 Main St
                                      #250
                                      Los Altos, CA 94022 United States

Certification
                             Name:    Katie Kavanaugh                                                                       I
                                                                                                                             I



                              Date:   December 13, 2022
                                                                                                                            i
                                                                                                                            It
                                                                                                                            I
                Correspondence:       Yes                                                                                   I
           Copyright Office notes:    Regarding title information: Deposit contains complete list of titles that
                                      correspond to the individual photographs included in this group.
                                                                                                                            l
                                      Regarding group registration: A group of published photographs may be
                                      registered on one application with one filing fee only under limited
                                      circumstances. ALL of the following are required: 1. All photographs (a) were
                                      created by the same author AND (b) are owned by the same copyright claimant
                                      AND (c) were published in the same calendar year AND 2. The group contains
                                      750 photographs or less AND 3. A sequentially numbered list of photographs
                                      containing the title, file name and month of publication for each photograph
                                      included in the group must be uploaded along with other required application
                                      materials. The list must be submitted in an approved document format such as .
                                      XLS or .PDF. The file name for the numbered list must contain the title of the
                                      group and the Case Number assigned to the application.




                                                                                                               Page 2 of2
